JUL~OS,ZOOE 14:28 000-000-00000 page 6
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HLED BY _,,__. D.C.
IN THE UN`ITED STATES DISTRICT COl

 

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FOR THE WESTERN DISTRICT OF TENNES UL l ‘ PH 3 3
WESTERN DIVISION MM M_M
C|M U.S. CiSMCT C(Mii
§ TJ',U'UF'TN'NEWFB`
UNITED STATES OF AMERICA, §
Plaintiff, §
§
v. § ClVlL NO. 01-CV-279S Mi/V
§
JAMES WILLIAM. CALDWELI.,, §
Movant. § Magistrate Judge Diane K. Vcscovo
§

 

QBDR
On this day came to be considered Movant’s Motion for Continuance of
Hearing on Motion to Vacate under 28 U.S.C. § 2255 and the Court having
considered same is ofthe opinion that said Motion should be GRANTED/DENIED.

lt is therefore ORDERED that Defendant’ s Hearing on Motion to Vacate under

/O 30 a m
28 `U. S. C. § 2255 is re-set for the B_H_q“day of §§ M,§'?V, 2005 atM'M'

so oRnERF.D this / /q/h day of §§ , 2005.

 

HONORABLE DlANE K. VESCOVO
UNITE.D STATES MAGISTRATE JUDGE

Th!s document entered on the docket}&eat in compliance /q
with Ftu¥e 58 andfor 79(a) FROF' on ' 0 0

DISTRIT COURT - ESTNER ISRICT OF TNNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

